Case 1:20-cr-00406-ELH Document 28 Filed 06/22/21 Page 1 of Psp 4) })- Y So's

 

 

U.S. BI STH ?
OSTRe pw E COURT
WES PEARY
| 262) Jus
HEE 4727/2021 1 JUN 22 py 1:23
U. SZ Department nell Justice
A if
United 7 Siatel te A Horney
ae _District of Maryland
re UEPUTY
Joan Mathias Suite 400 DIRECT: 410-209-4850
Assistant United States Attorney 36 8. Charles Street MAIN: 410-209-4800
Joan. Mathias@usdoj. gov Baltimore, MD 21201-3119 FAX: 410-962-9293
April 22, 2020
VIA E-MAIL

David Walsh-Little, Esquire

Office of the Federal Public Defender
100 South Charles Street

Tower II, 9" Floor

Baltimore, Md 21202

Re: United States v. James Dale Reed
Criminal No. ELH-20-406 (D. Md.)

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, James Dale Reed (hereinafter “Defendant”, by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. The terms
of the Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment that has been filed
against him, in which he was charged with Threats to a Major Candidate for the Office of President
or Vice President, in violation of 18 U.S.C. § 879. The Defendant admits that he is, in fact, guilty _
of that offense and will so advise the Court.

Elements of the Offense
2. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged

in the Indictment, in the District of Maryland

a. The Defendant knowingly and willfully threatened to Kill, kidnap, or inflict bodily harm
upon a person; and
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 2 of 12

b. The target of his threats was a major candidate for the office of President or Vice President,
or a member of the immediate familty_of such candidate.

c. At the time of the threat, Joseph Biden and Kamala Harris were major candidates for the
office of President and Vice President, respectively.

 

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:
COUNT | STATUTE MAND. MAX MAX MAX | SPECIAL
MIN. IMPRISON- | SUPERVISED | FINE {| ASSESS-
IMPRISON- MENT RELEASE MENT:
MENT
1 18U.S.C. | NAA. 5 years 3 years $250,000 | $100
§ 879
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole _

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

C Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

- f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant

2.
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 3 of 12

authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuais selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant wouid have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

é. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial! and trial decisions on the admissibility of evidence to
see if any errors were committed which would require 2 new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.
Case 1:20-cr-00406-ELH Document 28 Filed 06/22/21 Page 4 of 12

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h, By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
' relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

- Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

b. This Office and the Defendant further agree that the applicable base offense level
is a level 12 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) § 2A6.1(a)(1).

c. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3E1.i(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
" offense; (iti) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 5 of 12

d. Thus, the adjusted offense level is 10.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
- Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
‘part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income. The Defendant agrees the Defendant will not raise any argument that any
specific prior conviction is not a predicate for a career offender designation under U.S.S.G. §
4B1.1.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9. At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to bring to the Court’s
attention all information with respect to the Defendant’s background, character, and conduct that
this Office or the Defendant deem relevant to sentencing, including the conduct that is the subject
of any counts of the Indictment. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant. ,

Waiver of Appeal

10. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release).
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 6 of 12

C. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

ll oa The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

b. Specifically, but without limitation on the government’ s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in items that constitute money, property, and/or assets
derived from or obtained by the Defendant as a result of, or used to facilitate the commission of,
the Defendant’s illegal activities.

c. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

d. The Defendant agrees to assist fully in the forfeiture of the above described
property. The Defendant agrees to disclose all assets and sources of income, to consent to all
requests for access to information related to assets and income, and to take all steps necessary to
pass clear title to the forfeited assets to the United States, including executing all documents
necessary to transfer such title, assisting in bringing any assets located outside of the United States
within the jurisdiction of the United States, and taking whatever steps are necessary to ensure that
assets subject to forfeiture are made available for forfeiture.

e. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 7 of 12

Abandonment

12. The Defendant knowingly and voluntarily waives any right, title, and interest in the
following property:

4, Smith & Wesson 9VE Handgun, Serial No.: PBV12382;

b. JC Higgins 20- 12 Gauge, Serial No.: Unknown;

c. .223 caliber Bushmaster XM15- E25, Serial No.: BFI4326004;
d, Hi Point 995, Serial: B716765; and

e. approximately 8 ammunition cans with 5.56 and 9mm ammunition and AR-15

carbine magazines

(the “Abandoned Property”) and consents to its federal administrative disposition, official use,
and/or destruction.

13. The Defendant understands that he would have a right to file a claim to the Abandoned
Property and waives his right to claim the Abandoned Property. The Defendant agrees not to
contest the vesting of title of the Abandoned Property in the United States Government and agrees
to unconditionally release and hold harmless the United States Government, its officers,
employees, and agents, from any and all claims, demands, damages, causes of actions, suits, of
whatever kind and description, and wheresoever situated, that might now exist or hereafter exist
by reason of or growing out of or affecting, directly or indirectly, the seizure or waiver of
ownership interest in the Abandoned Property. The Defendant agrees to execute any documents
as necessary to the waiver of right, title and interest in the Abandoned Property, including any
forms necessary to effect the Defendant’s waiver of ownership interest. |

Defendant’s Conduct Prior to Sentencing and Breach

14. a Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made

7

AE
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 8 of 12

during proceedings before the Court pursuant to Rule il of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1}(C}—f the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c}(1)(C).

Court Not a Party

15. The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
teceive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

16. — This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner»
Acting United States Attorney

fiw

” james G. Warwick/Joan C, Mathias
Assistant United States Attorneys

 
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 9 of 12

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, 1 have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

OS [tof 2i AK

Date

I am the Defendant’s attorney. 1 have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

C : | , ha

Dai , David Walsh-Little, Esquire
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 10 of 12

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt, The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

1. On Sunday October 4, 2020, at approximately 4:26 a.m., James Dale Reed (the
“Defendant”) left a letter threatening then candidates President Joseph Biden and Vice President
Kamala Harris on the doorstep of a resident of Frederick, Maryland. The Defendant was captured
by a Ring door camera. The resident of the home did not know the Defendant, but had several
Biden/Harris campaign signs located in the yard. -The letter threatened: those who voted for the
candidates and threatened to “beat Grandpa Biden to the point of death” and “anally rape”
Candidate Harris with “my riffe barrel”.' Through their investigation, United States Secret Service
(“USSS”) was able to identify, the-subject to be the Defendant. co .

c. = ya} oN, . Ky . ea ‘s 0

2. The letter stated: “W ING!!! This is a warning to anyone reading this letter if
you are a Biden/Harris supporter you wilt be targeted. We have a list of homes and addresses by
your election signs, We are the ones with those scary guns. We are the ones your children have
nightmares about. The Boogeymen coming in the night. We will not comply or give anything up
to Grandpa Biden or Harris, especially our guns they wilt have to take them from our cold dead
hands. We will not let Biden/Harris turn our country into a Communist wasteland. Now for
anyone who supports Biden/Harris such as Gabby Gifferts I will personally finish what the retard
in California failed to do, I will personally put my Glock 17 to her head and make damn sure her
brains go out the back of her skull, as well as any other anti-gun group leader. Now as for Grandpa
Biden and Mrs. Harris, when we capture Grandpa Biden we will all severely beat him to the point
of death as for Mrs. Harris she will be bent over and anally raped by my Rifle barrel then for the
Grand end the both will be executed on National Television. I would prefer CNN then every
Biden/Harris supporter will understand what the 2 Amendment is all about. If Biden/Harris want
a war then they will get one, of course that means Black lives matter and Antifa.”

we ~

3. The Defendant admits that the plain meaning as well as context of the threats of
violence made in the letter constitutes a violation of 18 U.S.C. § 879. The Defendant knowingly
and willfully threatened to kill, kidnap, or inflict bodily harm upon a person. At the time of the
offense, Biden was a major candidate for President and Harris was a major candidate for Vice
President.

4, Investigators learned that the Defendant had guns registered to him, including an
M4/AR-15 and a 9mm Smith and Wesson pistol.

5. On October 15, 2020, investigators contacted the Defendant at his residence and
requested elimination palm prints and a more extensive handwriting sample. The Defendant
consented and complied with both requests.

 

1 Throughout this Statement of Facts, the quoted material has been transcribed as found in the
source text, complete with any erroneous or otherwise nonstandard spelling or punctuation.
10
Case 1:20-cr-00406-ELH Document 28 Filed 06/22/21 Page 11 of 12

6. The Defendant was advised of his Miranda rights, which he voluntarily and
~ willingly waived by signing a Frederick Police Department Miranda form. Investigators audio-
recorded this waiver and all subsequent questioning. The Defendant then admitted to writing the
letter on Saturday evening, October 3, 2020, because he was upset at the political situation. The
Defendant then drove to Klirie Boulevard in the early morning hours of October 4, 2020, and took
the letter to the first house ke. saw with: Multiple democratic politica! signs.

7. Following the interview, law enforcement applied for and obtained an Extreme
Risk Protective Order (ERPO) to seize the Defendant’s firearms based on misdemeanor charges
of violations of MD Election Law 16-201a (voter intimidation) and MD Code 3-1001(threats of
mass violence). Law enforcement also applied for a search warrant for the clothing items visible
on the video surveillance. On October 15, 2020 at approximately 6:00 p.m., law enforcement
conducted the search of the Defendant’s house. The search was limited primarily to the “back
room” where the Defendant stated his guns and military equipment were located. The “back room”
that the Defendant referred to was full of extensive amounts of U.S. Army paraphernalia, including
many pairs of military-issue uniforms, helmets, plate carriers, and bags/packs. Two grenades
without blast caps were found but not seized. The room resembled a U.S. military outpost bunker
containing a voluminous supply of maps, books, and documents related to military strategy and
history.

8, Pursuant to the ERPO, the following was seized:

a. Smith & Wesson 9VE Handgun, Serial No.: PBV12382;

b. JC Higgins 20- 12 Gauge, Serial No.: Unknown;

c. .223 caliber Bushmaster XM15- E25, Serial No.: BFI4326004;
d. Hi Point 995, Serial: B716765; and

& approximately 8 ammunition cans with 5.56 and 9mm ammunition and AR-15
carbine magazines

9, Further, a stack of papers found in a military-style “Go-bag” near the foot of the
cot in the room was seized because it contained documents that included: conspiracy theories about
FPOTUS Obama, a highlighted list of attendees at a conference about 10 years ago (many of whom
are/were U.S. government protectees), and a hand-drawn map of Frederick Police Department
Special Response Team tactical responses, The jacket seen in the Ring doorbell video was also
found and seized.

10. These events occurred in the District of Maryland

SO STIPULATED:
fan C. Mottin:

James G. Warwick/Joan C. Mathias
Assistant United States Attorneys

11

 

i:
Case 1:20-cr-O0406-ELH Document 28 Filed 06/22/21 Page 12 of 12

 

Defendant

David 0 Gabe Esquire

Counsel for Defendant

12

*
°
